11/15/18                                   UNITED STATES BANKRUPTCY COURT
                                                    District of Oregon
In re                                                        )
 Edward J. Duffy                                             ) Case No. 18-33339-tmb13
                                                             ) CHAPTER 13 CONFIRMATION
Debtor(s)                                                    ) WORKSHEET

       Attorney: MICHAEL D O'BRIEN
       Present: Debtor () Jt. Debtor ( ) Attorney   ✓                                                      9:00 AM
       Creditors In Attendance:       Let.Vat. Wet
                                  ----=c------:-'-'---=---.-----'-----'--'--'=---..--:-~=-----f-+---=--------
                                      -:1e ~M
  _ _Dismiss Since: _ _(!) Payments Not Received by Trustee _ _(2) Domestic Support Obligations Not Current
     _ _ (3) Trustee OBJ. TO CONF.; OR _ _(4) Grant Motion to Dismiss from
                                                                          ---------
  _ _Enter Confirmation Order: _ _ Subject to Objections W/In _ _ Days By_ _ _ _ _ _ _ _ __
           Enter OCP Order ___ Fee Reduction      Send Letter
  _ _Enter Order: Denying Confirm_ _ Days to File Amended Plan
     Reason: _ _ (I) Unable to Comply ___ (2) More Than 36/60 Mo. _ _ (3) Debtor wants to File Amended Plan
     (4) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
         Enter Order re Tax Returns Owed:               IRS     ODR          OTHER: _ _ _ _ _ _ __
       Returns Due Within _ _ Days
  __,.,Enter Service Order _ _ Fee Red~en _ _ Send Letter
   ✓A
  __   Adjourn Confirmation Hearing: _ _ Notice given in Ct.; QR Notify ___ (I) All Interested Parties:
       or _ _ (2) Debtor, Atto171e~,Jlf~~e, Objecting Creditors and _ _ _ _ _ __
       Date, etc: \ 1.-1--o- lt:3 ~ -~.(jO Evid~ia~ _ _ H?u_rs _ _ Bend: _ _
  Objecting Creditor:
                         I
                          I\R~ u~ kt\'\
                                   t::'                  Tvvs¼
     Value: _ _ _ _ D        C_ _ _ _ ~easibility: _ _ Good Faith:
            _ _ _ _ D_ _ _ _ C_ _ _ _ Failure to Make Postpetition Payments: _ _
     Int
            _ _ _ _ D_ _ _ _ C_ _ _ _ Failure to Assume or Reject Executory Contract: _ _
     Rate:



  Objecting Creditor:     i~ \" K~ C§wvW
                                      ~, -Jo~\\ --\ I            ~b('it     Sic v-e_'
           Value: _ _ _ _ D_ _ _ _ C_ _ _ _ Feasibility: _ _ Good Faith: _ _
                  _ _ _ _ D_ _ _ _ C_ _ _ _ Failure to Make Postpetition Payments: _ _
           Int
                 _ _ _ _ D_ _ _ _ C_ _ _ _ Failure to Assume or Reject Executory Contract: _ _
           Rate:




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